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11

12                        UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA
14

15   DONNELLE WEAR,                  )           CASE NO.: 8:20-cv-00459- JVS-DFM
16                                   )
                       Plaintiff,    )           DEFENDANT COUNTY OF LOS
17                                   )           ANGELES’ NOTICE OF MOTION
18   vs.                             )           AND MOTION TO DISMISS
                                     )           PLAINTIFF’S FIRST AMENDED
19
     COUNTY OF LOS ANGELES, a public )           COMPLAINT FOR DAMAGES;
20   entity, and DOES 1 through 10   )           MEMORANDUM OF POINTS AND
                                     )           AUTHORITIES; DECLARATION
21
                       Defendants.   )           OF ANTONIO KIZZIE IN
22                                   )           SUPPORT THEREOF
                                     )
23
                                     )           Hearing Date:       October 23, 2020
24                                   )           Time:               10:30 a.m.
                                     )           Courtroom:          10A
25
                                     )
26                                   )           [Proposed order filed concurrently]
                                     )           Complaint Filed: March 6, 2020
27

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      ____________________________________________________________________________________
      DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S
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 1         TO THE COURT, PLAINTIFF AND HER ATTORNEYS OF
 2   RECORD:
 3         PLEASE TAKE NOTICE that on Friday, October 23, 2020 at 10:30 a.m.
 4   before the Honorable Judge Josephine L. Staton in Courtroom 10A in the United
 5   States District Court for the Central District of California located at
 6   , Defendant County of Los Angeles (“County” or “Defendant”) will and hereby
 7   does move this Court to dismiss Plaintiff DONNELLE WEAR’s (hereinafter
 8   "PLAINTIFF") First Amended Complaint for Damages (“FAC”) in its entirety or,
 9   in the alternative, Plaintiff’s First and/or Second cause of action.
10         The instant motion is made on the following grounds:
11         1.      Plaintiff fails to state facts sufficient to allege a first cause of action
12   for substantive due process violation/deprivation of familial relations (42 U.S.C. §
13   1983) because there are no facts sufficient to allege that Defendant Los Angeles
14   County Sheriff’s Department acted in a manner sufficient to “shock the
15   conscience,” and the use of force was objectively reasonable/de minimus and
16   reasonable suspicion existed for use of the minimal force by Defendant Los
17   Angeles County Sheriff’s Department deputies to assist U.S. Post Office Police
18
     Officers to handcuff Decedent to detain or potentially arrest him.
19
           2.      Plaintiff fails to state facts sufficient to allege a second cause of action
20
     for Monell/municipal liability-policy, practice, custom (42 U.S.C. § 1983) because
21
     Plaintiff fails to state sufficient facts of the content or specific nature of the
22
     County’s allegedly inadequate trainings, customs or policies that allegedly caused
23
     Plaintiff’s constitutional violations. Plaintiff also fails to state facts sufficient to
24
     allege that the County’s inadequate training, customs or policies were the “moving
25
     force” behind the specific Defendants’ acts that caused Plaintiff’s constitutional
26
     violations.
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 1                            CONFERENCE OF COUNSEL
 2         This motion is made following the meet and confer conferences of counsel
 3   pursuant to L.R. 7-3 which took place telephonically on August 4, 2020 due to the
 4   distance between counsel’s offices and COVID-19 pandemic. Plaintiff declined to
 5   voluntarily amend the FAC during meet and confer efforts. Plaintiff will oppose
 6   this motion.
 7

 8
     Dated: August 28, 2020                 IVIE McNEILL WYATT
 9                                          PURCELL & DIGGS
10                                    By:   ____/s/ Antonio K. Kizzie______________
11                                          RICKEY IVIE
                                            ANTONIO K. KIZZIE
12                                          JACK F. ALTURA
13                                          Attorneys for Defendants,
                                            COUNTY OF LOS ANGELES, et. al.
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.      INTRODUCTION
 3           This case arises out of an incident that occurred on December 7, 2018 at the
 4   United State Post Office located at 7101 South Central Ave. in Los Angeles, CA.
 5   The incident involved Mr. Joseph Alan Wear (“Mr. Wear” “Decedent”), United
 6   States Post Office police officers (“U.S. Post Office Officers”), Los Angeles Police
 7   Department Officers (“LAPD”) and Los Angeles County Sheriff’s Department
 8   deputies (“Defendants”), who were all summoned due to Mr. Wear’s undisputed
 9   erratic and aggressive behavior with members of the public. Defendants’ only
10   alleged involvement was physically assisting U.S. Post Office Officers to
11   handcuff/restrain Mr. Wear after they witnessed Mr. Wear struggling with the U.S.
12   Post Office Officers as they drove by.
13           During or immediately after the handcuffing, Mr. Wear became
14   unresponsive, at which point Defendants engaged in life-saving measures,
15   including CPR and mouth to mouth resuscitation, until Los Angeles County Fire
16   Department paramedics arrived and transported Mr. Wear to Harbor UCLA
17   Hospital, where he later died. On December 17, 2018, Los Angeles County
18
     Coroner Department Deputy Medical Examiner Matthew D. Miller, MD
19
     determined that Mr. Wear died of “methamphetamine toxicity.”
20
             The instant motion respectfully seeks to move this Court for an order
21
     dismissing all of Plaintiff’s causes of action against Defendants COLA, Deputy
22
     Adrian De Casas (“Deputy De Casa”), and Deputy Jonathan Pawluck (“Deputy
23
     Pawluck”), and DOES 1 through 10 because, even taking Plaintiff’s factual
24
     allegations as true, reasonable suspicion existed for use of the minimal force by
25
     Defendant Los Angeles County Sheriff’s Department deputies to assist U.S. Post
26
     Office Police Officers to handcuff Decedent to detain or potentially arrest him, and
27
     such was objectively reasonable or de minimus under the totality of the
28
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     _____________________________________________________________________________________________________________________
          DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST
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 1   circumstances and entitled by law to qualified immunity.
 2           Further, there are no facts sufficient to allege that Defendant Los Angeles
 3   County Sheriff’s Department deputies acted in an egregious manner sufficient to
 4   “shock the conscience” or with specific intent to violate Mr. Wear’s rights.
 5           Further, Plaintiff, again, fails to state facts sufficient to allege a second cause
 6   of action for Monell/municipal liability-policy, practice, custom (42 U.S.C. § 1983)
 7   because Plaintiff fails to state sufficient facts of the content or specific nature of
 8   the County’s allegedly inadequate trainings, customs or policies that allegedly
 9   caused Plaintiff’s constitutional violations. Indeed, Plaintiff’s FAC is not
10   substantially different in terms of sufficient allegations in support of the Monel
11           Plaintiff also fails to state facts sufficient to allege that the County’s
12   inadequate training, customs or policies were the “moving force” behind the
13   specific Defendants’ acts that caused Plaintiff’s constitutional violations. Plaintiff,
14   again, simply reiterates sporadic past misconduct by uninvolved persons under
15   different facts and circumstances and relies entirely on hearsay newspaper or
16   magazine articles.
17
             Plaintiff declined to voluntarily amend the FAC during meet and confer
18
     efforts on August 4, 2020. For the foregoing reasons and although Defendant is
19
     aware that the Court generally disfavors motions to dismiss, Defendant respectfully
20
     requests that the Court consider and grant this motion in its entirety without leave
21
     to amend.
22
     II.     CONFERENCE OF COUNSEL
23
             This motion is made following the meet and confer conferences of counsel
24
     pursuant to L.R. 7-3, which took place telephonically on August 4, 2020. Kizzie
25
     Decl. ¶ 4. Plaintiff refused to amend the FAC, and will oppose the instant motion.
26
     Kizzie Decl. ¶ 4.
27

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          DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST
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 1   III.    STANDARD FOR A 12(b)(6) MOTION TO DISMISS
 2
             A complaint shall be dismissed when it fails to state a claim upon which
 3
     relief can be granted. Fed. R. Civ. P. 12(b) (6). A Rule 12(b)(6) motion challenges
 4
     the sufficiency of the pleadings set forth in the complaint. Hana Fin., Inc. v. Hana
 5
     Bank, 500 F.Supp. 2d 1228, 1232 (C.D. Cal. 2007). In order to survive a motion to
 6
     dismiss, a complaint must contain factual allegations that do more than invite mere
 7
     speculation. Id.
 8
             While the Court must accept as true all material factual allegations, the
 9
     Court does not accept “unreasonable inferences or conclusory legal allegations cast
10
     in the form of factual allegations.” Estate of Migliaccio v. Midland Nat’l Life Ins.
11
     Co., 436 F.Supp. 2d 1095, 1098 (2006). Mere “labels and conclusions” or
12
     “formulaic recitation(s) of the elements of a cause of action” will not suffice to
13
     overcome a motion to dismiss. Id. Conclusory allegations of law and unwarranted
14
     inferences will not save a complaint from an otherwise proper motion to dismiss.
15
     Vasquez v. Los Angeles (“LA”) County, 487 F.3d 1246, 1249 (9th Cir. 2007).
16
             Dismissal is proper where there is either “a lack of a cognizable legal theory
17
     or the absence of sufficient facts alleged under a cognizable legal theory.”
18
     Balistreri v. Pac. Police Dept., 901 F.2d 696, 699 (9th Cir. 1991). Allegations must
19
     be sufficient to “give fair notice and to enable the opposing party to defend itself
20
     effectively.” Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011). A court can
21
     dismiss claims without granting leave to amend if amending the complaint would
22
     be futile. Vasquez v. Cnty. of Los Angeles, 487 F.3d 1246, 1258 (9th Cir. 2007).
23
             To survive a 12(b)(6) motion, a complaint’s factual allegations (disregarding
24
     conclusory statements), must possess enough heft to raise a right to relief above the
25
     speculative level and show that under the law the plaintiff is entitled to relief.
26
     Atlantic Corp. v. Twombly, 550 U.S. 544, 555-557, 127 S. Ct. 1955,167 L. Ed. 2d
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 1   929 (2007); Ashcroft v. Iqbal, 556 U.S. 662, 678-682, 129 S. Ct. 1937, 173 L. Ed.
 2   2d 868 (2009).
 3           These pleading standards apply to claims of municipal liability for
 4   Constitutional right violations under Monell v. Dep't of Soc. Servs., 436 U.S. 658,
 5   691, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978). A.E. ex rel. Hernandez v. Cty. of
 6   Tulare, 666 F.3d 631, 637 (9th Cir. 2012). To be entitled to the presumption of
 7   truth, the complaint’s Monell allegations may not simply recite the elements of the
 8   particular Monell theory, but must contain sufficient allegations of relevant
 9   underlying facts to give fair notice and to enable the municipality to defend itself
10   effectively. Ibid. And the factual allegations that are taken as true must plausibly
11   suggest an entitlement to relief, such that it is not unfair to require the municipality
12   to be subjected to the expense of discovery and continued litigation. Ibid.
13
     IV.     ARGUMENT
14
             In sum, Plaintiff’s allegations, even taken as true, show that the Defendant
15
     deputies had reasonable suspicion to detain and possibly arrest Mr. Wear. Further,
16
     the use of force to assist U.S. Postal Office Police Officers to handcuff Mr. Wear
17
     was objectively reasonable under the circumstances and de minimus.
18
     A.      STATEMENT OF RELEVANT FACTUAL ALLEGATIONS
19

20           Here and relevant to the instant motion, Plaintiff alleges the following facts
21   taken as true:
22           “On the afternoon of December 7, 2018, Decedent Joseph Alan Wear,
23   entered the United States Post Office located at 7101 South Central Ave. in Los
24   Angeles, CA.” Dkt. 20 FAC ¶ 17.
25           “Plaintiff is informed and believes and thereon alleges that when
26   DECEDENT entered the Post Office, he was carrying his skateboard and gave a
27   postal clerk a taser and can of pepper spray.’” Dkt. 20 FAC ¶ 18.
28
                                                               4
     _____________________________________________________________________________________________________________________
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 1           “Then, DECEDENT said something to the effect of “Help, they're after me.
 2   I need help. Can I use the phone?” Dkt. 20 FAC ¶ 18.
 3           “Upon information and belief, DECEDENT was apparently delusional and
 4   in an agitated state of mind.” Dkt. 20 FAC ¶ 19.
 5           “DECEDENT ran out of the Post Office and was followed by GUERRERO,
 6   ECHEVARRIA, PAVON and TALIBI. (Postal Service Inspectors/ Police
 7   Officers/ Security Officers) Dkt. 20 FAC ¶ 19 (Clarification added).
 8           “DECEDENT ran around the area near/ at the Post Office. DECEDENT
 9   then climbed up a tree and jumped down. After jumping out of the tree,
10   DECEDENT ran across the streets while engaging pedestrian traffic.” Dkt. 20 FAC
11   ¶ 19
12            “DECEDENT was in obvious need of medical intervention and attention.”
13   Dkt. 20 FAC ¶ 22
14           “One or more civilians and one or more Postal Service Inspectors/ Police
15   Officers/ Security Officers were in the process of restraining DECEDENT, when a
16   presently unidentified LASD deputy sheriff(s), DOES 1-10, inclusive, when DE
17   CASAS and PAWLUK approached the scene of the subject incident.” Dkt. 20
18
     FAC ¶ 23
19
             “Upon their arrival, DE CASAS and PAWLUK restrained DECEDENT.”
20
     Dkt. 20 FAC ¶ 24
21
             “DE CASAS, PAWLUK, GUERRERO, ECHEVARRIA, PAVON and
22
     TALIBI failed to use ordinary care when restraining DECEDENT, and used
23
     unreasonable and excessive force upon him, including lethal restraints that resulted
24
     in his death.” Dkt. 20 FAC ¶ 251
25

26
    It should be noted that the only force Plaintiff alleges Defendant Sheriff’s
     1
27
   deputies used is vaguely assisting the U.S. Postal Officers to restrain Mr. Wear,
28 obviously through the use of handcuffs as there is no such thing as “lethal
                                                               5
     _____________________________________________________________________________________________________________________
          DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST
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 1           “The actions of DE CASAS, PAWLUK, GUERRERO, ECHEVARRIA,
 2   PAVON, TALIBI and DOES 7-10, inclusive, caused DECEDENT to suffer and
 3   sustain a cardiac arrest, resulting in his death.” Dkt. 20 FAC ¶ 262
 4
     B.   PLAINTIFF’S SECOND CLAIM FOR MONELL LIABILITY MUST
 5
     BE DISMISSED
 6

 7       1. PLAINTIFF’S SECOND CLAIM FOR MONELL LIABILITY FAILS
            TO STATE SUFFICIENT FACTS DESCRIBING THE
 8          UNCONSTITUTIONAL CONTENT OR SPECIFIC NATURE OF
 9          DEFENDANT COUNTY’S POLICIES/TRAININGS
10           Defendant respectfully requests that the Court dismiss Plaintiff’s second

11   claim for Monell liability against Defendant COLA pursuant to Federal Rule of

12   Civil Procedure 12(b)(6) for failure to state a claim. The Court previously found

13   that,
14          “Wear does not include sufficient underlying facts to give fair notice to
15   County of the alleged policies or practices. Instead, Wear proffers a list of news
     articles allegedly discussing instances of general misconduct and use of excessive
16   force by LASD. Compl. ¶ 36. While some instances identify the relevant subject of
17   the alleged policy—excessive force—Wear does not include any underlying
     factual allegations regarding the specific nature or content of the alleged policy.
18   Thus, these allegations fail to provide fair notice to County of the alleged policy…
19   These four sporadic incidents spanning seventeen years are insufficient to support
     an inference of the necessary duration, frequency, and consistency to establish the
20   existence of a policy or custom by County of excessive use of force or denial of
21   adequate medical care. Thus, Wear has not pleaded enough to adequately state a
     Monell claim against County. Wear alleges in conclusory terms that she also
22   wishes to proceed on a ratification theory of liability…However, Wear has set
23   forth no allegations with factual content regarding any conduct of the LASD
     Deputies that could support a ratification theory of municipal liability. Thus, Wear
24

25   restraints.” The mere phrasing of handcuffs as “lethal restraints” should not impact
     the Court’s analysis that the only specific force alleged is handcuffs.
26
     2
    Paragraphs 18 and 19 are clearly legal and medical conclusions that the Court
27
   does not accept as true, but are simply added for context regarding Plaintiff’s
28 allegations.
                                                               6
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          DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST
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 1 has failed to state a claim under this theory as well.”) See Dkt. 19, pgs. 7-8.
 2        The Court graciously granted Plaintiff leave to amend, but Plaintiff relies by

 3 and large on the same conclusory allegations without any specific facts tying

 4   Defendants’ conduct of assisting police officers and citizens in “restraining” Mr.
 5   Wear in any logical way to an unconstitutional County custom, policy or practice.
 6   See Dkt. 20 FAC ¶ 30, 38-50. Accordingly, Defendants’ motion should be granted
 7   without leave to amend.
 8           To establish Section 1983 Monell liability, plaintiffs must have sufficiently
 9   alleged that: “(1) they were deprived of their constitutional rights by defendants
10   and their employees acting under color of state law; (2) that the defendants have
11   customs or policies which amount to deliberate indifference to their constitutional
12   rights; and (3) that these policies are the moving force behind the constitutional
13   violations.” Lee v. City of Los Angeles, 250 F.3d 668, 681–82 (9th Cir. 2001). A
14   policy or custom is considered a “moving force” behind a constitutional violation
15   if both causation-in-fact and proximate causation can be established. Inman v.
16   Anderson, 294 F.Supp.3d 907, 920 (N.D. Cal. 2018) (citing Harper v. City of L.A.,
17   533 F.3d 1010, 1026 (9th Cir. 2008).
18           It is well-established under precedential and controlling authority that
19   merely generically alleging inadequate or unconstitutional training, policies and
20   procedures is simply insufficient to state a Monell claim. See Ashcroft v. Iqbal, 556
21   U.S. 662, 681 (2009); Trevino v. Gates, 99 F.3d 911, 918 (9th Cir. 1996).
22           Plaintiff’s boilerplate Monell claim fails to satisfy the fact-pleading standard
23   under Starr because it only contains legal conclusions, and does not contain
24   sufficient facts of the content or specific nature of the County’s policies that
25   allegedly caused Plaintiff’s constitutional violations. Plaintiff has also failed to
26   state facts sufficient to allege that Defendant COLA’s policies were the “moving
27   force” behind the alleged deprivations they suffered aside from mere conclusions.
28
                                                               7
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          DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST
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 1           A bare allegation that the deputies’ conduct conformed to some unidentified
 2   government policy or custom does not satisfy the fact pleading standard under
 3   Starr. A.E. ex rel. Hernandez v. County of Tulare, 666 F.3d 631, 636 (9th Cir.
 4   2012). Rather, Plaintiff’s complaint must include factual allegations that plausibly
 5   suggest an entitlement to relief, such that it is not unfair to require the opposing
 6   party to be subjected to the expense of discovery and continued litigation. Id.
 7           The allegations should specify the content of the policies, trainings, customs,
 8   or practices which give rise to Plaintiff’s constitutional injuries. Mateos-Sandoval
 9   v. County of Sonoma, 942 F. Supp. 2d 890, 900 (N.D. Cal. 2013). “[M]erely
10   stating the subject to which the policy relates (i.e. excessive force) is insufficient.”
11   Cain v. City of Sacramento, No. 2:17-CV-00848-JAM-DB, 2017 WL 4410116, at
12   *1 (E.D. Cal. Oct. 4, 2017) (citing A.E., 666 F.3d at 637).
13           In A.E., plaintiff brought a Monell claim against the County of Tulare
14   alleging that it maintained a policy which caused injury to A.E., a minor in the
15   foster care system.            Plaintiff’s Monell allegations were entirely conclusory in
16   nature and lacked any factual basis that plausibly suggested an entitlement to relief.
17   Plaintiff alleged that defendants performed all acts and omissions regarding A.E.’s
18
     foster care “under the ordinances, regulations, customs, and practices of Defendant
19
     County of Tulare.” Id. at 636–37.
20
             Like this case, the A.E. complaint also generally alleged that defendants
21
     “‘maintained or permitted an official policy, custom or practice of knowingly
22
     permitting the occurrence of the type of wrongs’ that it elsewhere alleged [in the
23
     complaint].” Id. at 637 (citations omitted). The complaint “did not put forth
24
     additional facts regarding the specific nature of this alleged ‘policy, custom or
25
     practice,’ other than to state that it related to ‘the custody, care and protection of
26
     dependent minors.’” Id. The court held that the language failed to meet the
27
     pleading standard under Starr and that the district court’s motion to dismiss was
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                                                               8
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          DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST
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 1   properly granted. Id.
 2           Like in A.E., Plaintiff in this case summarily alleges that Defendants have an
 3   “official policy, custom, or practice” of knowingly permitting the occurrence of the
 4   type of wrongs that they elsewhere alleged elsewhere in the complaint. Id.
 5           Here, Plaintiff uses the same vague and conclusory language that the A.E.
 6   court found insufficient under Starr to withstand a motion to dismiss as a matter of
 7   law.     For example, Plaintiff vaguely and generally concludes that Defendants
 8   COLA had various inadequate “training and supervision” but allege no facts, only
 9   conclusions, making it impossible to ascertain what specific policy, training,
10   practice Plaintiff is talking about. Plaintiff, again, does not identify the actual
11   content, existence or location of any such alleged unconstitutional policy, practice,
12   or custom.
13           Indeed        and     again,      in     some      instances        Plaintiff’s      allegations        are
14   irrelevant/inapplicable as the Court previously noted, were left in the Complaint.
15   For example, Plaintiff, again, alleges that past Los Angeles County Sheriff’s
16   deputies have engaged in “sexual misconduct,” or “On April 19, 2018, Daniel
17   Lollis was the victim of excessive force and unnecessarily arrested by LASD
18
     deputies during a traffic stop,” “Jury found in favor of inmates that LASD deputies
19
     used excessive force to remove the inmates from their cells,” or “In January 2010,
20
     COUNTY agreed to pay a Plaintiff $900,000 to a prisoner who lost his foot due to
21
     LASD inadequate medical care,” all of which have nothing to do with the instant
22
     case. See generally Dkt. 20 FAC ¶ 43.
23
             Read collectively, Plaintiff’s Monell allegations are mere conclusions, after
24
     conclusions, after reference to a completely unrelated sporadic incident via
25
     inadmissible newspaper or magazine hearsay with no context or declaration as to
26
     the substance of the article, followed by more conclusions, none of which are
27
     sufficient alone to allege Monell liability.
28
                                                               9
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          DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST
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 1           Merely alleging that bad actors employed by Defendant COLA have
 2   engaged in sporadic misconduct and such is tied to a pattern of bad-behavior by the
 3   individuals in this case is insufficient as any entity will no doubt have bad actors.
 4   “Liability for improper custom may not be predicated on isolated or sporadic
 5   incidents; it must be founded upon practices of sufficient duration, frequency and
 6   consistency that the conduct has become a traditional method of carrying out
 7   policy.” Trevino v. Gates, 99 F.3d 911, 918 (9th Cir. 1996).
 8           Further, newspaper articles have consistently been held to be inadmissible
 9   hearsay. Larez v. City of Los Angeles, 946 F.2d 630, 642-43 (1991) (holding that
10   statements in newspaper articles are “erroneously admitted hearsay”); Dallas
11   County v. Commercial Union Assurance Co., 286 F.2d 38, 391-92 (5th Cir. 1961)
12   (newspaper article is hearsay, and in almost all circumstances is inadmissible);
13   Horta v. Sullivan, 4 F.3d 2, 8 (1st Cir. 1993) (newspaper article is inadmissible
14   hearsay and cannot be used to prove the truth of the reported facts); Eisentstadt v.
15   Centel Corp., 113 F.3d 738, 742 (7th Cir. 1997) (newspaper article was an “out-of
16   court statement offered to prove the truth of its contents”).
17           Plaintiff also deficiently alleges entirely fact-deficient and boilerplate
18
     allegations of conclusions that the County maintained a policy or custom of
19
     inadequately supervising, training, and disciplining sheriff’s deputies, See
20
     generally Dkt. 20 FAC ¶ 43., but fails to factually explain how any such policy,
21
     practice, or training regarding discipline, training, use of force, etc. was
22
     inadequate. Plaintiff’s other Monell allegations are similarly conclusory. These
23
     allegations may give notice as to the general nature of the alleged policy, but
24
     provide insufficient facts to give notice as to the specific nature of the policy. See
25
     A.E., 666 F.3d at 637.
26
             Merely alleging inadequate policies does not meet the pleading standards
27
     under A.E. In Mendy v. City of Fremont, No. C-13-4180 MMC, 2014 WL 574599
28
                                                              10
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          DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST
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 1   (N.D. Cal. Feb. 12, 2014), plaintiffs alleged that the defendant city “failed to
 2   adequate[ly] train its officers in the proper use of force in the course of their
 3   employment as peace officers.” Id. at *1 (internal quotation marks omitted). The
 4   A.E. court held that this allegation “fail[ed] to identify, even minimally, how the
 5   City’s training with respect to the use of force is deficient.” Id; accord Canas v.
 6   City of Sunnyvale, No. C 08-5771 JF PSG, 2011 WL 1743910 (N.D. Cal. Jan. 19,
 7   2011) (dismissing Plaintiff’s Monell claim, holding that “Plaintiffs do not explain
 8   in detail how the [Defendant’s] alleged policies or customs are deficient, nor do
 9   they explain how the alleged policies or customs caused harm to Plaintiffs and
10   Decedent.”).3 In the absence of such an allegation, the court could not determine if
11   a plausible claim is made under Monell and dismissed the claim. Mendy, 2014 WL
12   574599, at *1.
13           Plaintiff’s Monell allegations in the case at bar are substantially similar to
14   the allegations in Mendy.                   Plaintiff’s Complaint states forceful, boilerplate
15   language and conclusions such as alleging excessive force, unlawful detention,
16   inadequate discipline, etc. See generally Dkt. 20 FAC ¶ 38-43. These terms,
17   however, are mere legal conclusions and not entitled to a presumption of truth. See
18
     Ashcroft v. Iqbal, 556 U.S. 662, 681 (2009); Trevino v. Gates, 99 F.3d 911, 918
19
     (9th Cir. 1996).
20
             Plaintiff’s allegations are insufficient to give the County notice which
21
     policies are allegedly constitutionally deficient. The allegations give the County no
22
     information to search, identify, and analyze these unidentified policies to
23
     determine if, perhaps, they are in fact constitutionally deficient; and if so,
24
     encourage the County to seek settlement with Plaintiff, avoiding costly and time-
25
     consuming litigation. The allegations give the County no basis to defend the
26
     3
    Defendants do not argue that Plaintiff must specify the alleged policies in detail.
27
   Plaintiff must simply allege sufficient facts, not boilerplate conclusory allegations,
28 as to the policies’ content and specific nature. See A.E., 666 F.3d at 637.
                                                              11
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          DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST
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 1   Monell allegations because it has no idea what specific policy it is defending.
 2           In contrast to this case, in Mateos-Sandoval, the plaintiff alleged that county
 3   defendants routinely enforced a particular provision of the California Vehicle Code
 4   by “seizing and impounding vehicles on the basis that the driver does not have a
 5   current, valid California driver’s license, including when the vehicle was not
 6   presenting a hazard or a threat to public safety [and] keeping the vehicle [even
 7   though] someone was available to pay the impound fee to date, usually for the 30
 8   day period specified by [the provision] […].” 942 F. Supp. 2d at 899–900. The
 9   district court applying A.E. found that the plaintiff alleged sufficient facts to
10   support a Monell claim. Id. at 900.
11           Plaintiffs in Mateos-Sandoval specified the content of the policies that gave
12   rise to their constitutional injuries. See Id. at 899. The defendants in that case
13   were thus able to investigate the claim, determine its truthfulness, mount a defense
14   against it, or pursue settlement.                   These identifying facts are not present in
15   Plaintiff’s Complaint.
16
             An allegation of excessive force or other constitutional violation is a legal
17
     conclusion, not a fact. It is the facts that support an inference of excessive force
18
     that are required to defeat a motion to dismiss; a bare allegation of excessive force
19
     is not enough. Alleging a policy of excessive force is similarly deficient. A bare
20
     allegation of a policy of excessive force no more entitles Plaintiff to a presumption
21
     of truth as to their Monell claim than a bare allegation of excessive force would
22
     entitle a plaintiff to a presumption of truth as to an excessive force claim. It is the
23
     facts that matter—not the label of excessive force.
24

25       2. PLAINTIFF’S MONELL CLAIM FAILS TO STATE FACTS
            SUFFICIENT TO ALLEGE THE COUNTY’S POLICIES WERE THE
26          MOVING FORCE BEHIND HIS CONSTITUTIONAL
27          DEPRIVATION

28
             To show “moving force,” Plaintiff must state facts sufficient to allege that

                                                              12
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 1   the county’s policies were the cause-in-fact and proximate cause of the injuries.
 2   Dougherty v. City of Covina, 654 F.3d 892, 900 (9th Cir. 2011). To survive a Rule
 3   12(b)(6) motion, it is insufficient for Plaintiff to merely allege that “Defendant
 4   [County’s] policies and/or customs caused the specific violations of Plaintiff’s
 5   constitutional rights at issue in this case.” Id. Plaintiff must do more than allege
 6   “Defendant [County]’s polices and/or customs were the moving force and/or
 7   affirmative link behind the violation of the Plaintiff’s constitutional rights and
 8   injury, damage and/or harm caused thereby.” Id.
 9           In this case, Plaintiff again fails to do just that. Plaintiff fails to plead facts
10   sufficient to suggest the County’s allegedly deficient policies or trainings, even if
11   they exist, caused their injuries because Plaintiff fails to plead any facts about
12   those policies or trainings at all. For example, “New York City had an
13   unconstitutional “Stop and Frisk” policy No. 1,2 and 3 for minorities, plaintiff (a
14   minority) was stopped and frisked in New York City pursuant to such policy in
15   absence of any other justification. Even if such turns out to be incorrect, the
16   hypothetical Plaintiff stated facts sufficient to potentially draw a nexus.
17            As to the Monell claim, Plaintiff solely and in conclusory fashion merely
18
     states various unrelated conclusions about alleged unconstitutional customs and
19
     then alleges that “The aforesaid policies, customs, practices and usages described
20
     in this Complaint were the moving force that caused DECEDENT and Plaintiff to
21
     be subjected to the unconstitutional acts of Defendant DOE Deputies on December
22
     7, 2018.” See generally Dkt. 20 FAC ¶ 49.
23
             However and again, Plaintiff merely pleads conclusions couched as “facts”
24
     and fails to state facts sufficient to connect that even if these vague alleged policies
25
     or practices exist ex. inadequate medical care in jails, how did they in any logical
26
     way become the “moving force” that caused Plaintiff’s injuries on December 7,
27
     2018? This is the same conclusory language, lacking in factual content that the
28
                                                              13
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          DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST
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 1   Dougherty Court rejected as insufficient to survive a Rule 12(b)(6) motion. See
 2   Dougherty, 654 F.3d at 900–901.
 3            Plaintiff, again, makes several boilerplate allegations that, in sum, attempt
 4   conclude that sheriff’s deputies were inadequately trained and supervised without
 5   describing the specific inadequate training at issue, how such was inadequate, and
 6   how such inadequate training was the “moving force” behind Plaintiff’s injuries.
 7   See generally Dkt. 20 FAC ¶ 38-43.
 8            While Plaintiff recites the causation element in their Complaint, “[they]
 9   provide[] no facts that indicate that any of the [Defendant’s] actions were caused
10   by the alleged customs, policies, or practices.” Bagley v. City of Sunnyvale, No. 16-
11   CV-02250-LHK, 2017 WL 344998, at *1 (N.D. Cal. Jan. 24, 2017) (citing
12   Dougherty, 654 F.3d at 900.)
13            Plaintiff has also failed to state facts sufficient to allege a constitutional
14   violation “resulting from an employee acting pursuant to an expressly adopted
15   official policy, or an employee acting pursuant to a long-standing practice […].”
16   Schiff v. City and County of San Francisco, 816 F. Supp. 2d 798, 810 (N.D. Ca.
17   2011). Beyond the bare allegation that Defendant COLA had either actual or
18
     constructive knowledge that deputies engaged in unconstitutional conduct and
19
     were deliberately indifferent, Plaintiff fails “to allege any facts to supporting a
20
     finding that [Defendants COLA and Does 1–10] had knowledge of the alleged
21
     constitutional violations before the violations ceased.” Mendy, 2014 WL 574599,
22
     at *4.
23
              In addition to the reasons stated above, dismissing Plaintiff’s Monell claim
24
     would also significantly reduce the costs of discovery and litigation trying to figure
25
     out what, specifically, Plaintiff is referring to, in addition to judicial time and
26
     resources for various discovery motions.
27
              Unnecessarily conducting discovery and litigating an amorphous Monell
28
                                                              14
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          DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST
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 1   claim with no clear facts and a “fishing expedition” would give the Court far more
 2   issues to rule on during discovery and at the summary judgment phase and trial.
 3   For the foregoing reasons, the County respectfully requests the Court properly
 4   dismiss Plaintiff’s second claim for municipal liability, which Plaintiff refused to
 5   dismiss or amend after meet and confer efforts.
 6
     C.      PLAINTIFF’S FIRST CAUSE OF ACTION FAILS BECAUSE
 7           REASONABLE SUSPICION/PROBABLE CAUSE EXISTED TO
 8           DETAIN/ARREST PLAINTIFF AND THE FORCE DEFENDANT
             DEPUTIES USED WAS OBJECTIVELY REASONABLE AND DE
 9           MINIMUS UNDER THE TOTALITY OF THE CIRCUMSTANCES
10           Plaintiff alleges a first cause of action for substantive due process
11   violation/deprivation of familial relations (42 U.S.C. § 1983). Defendants
12   understand and acknowledge that the Court ruled to deny Defendants’ prior motion
13   to dismiss the original Complaint. However, it is worth mentioning the clear
14   qualified immunity issue on the horizon that Plaintiff fails to specify any actual
15   actions taken by Defendants other than “lethal restraints,” when there is no such
16   thing as a “lethal restraint.” Accordingly, Defendants cannot ascertain what, if any,
17   of Defendants actions are actually serving as the basis of Plaintiff’s substantive due
18   process claim against Deputy De Casas and Deputy Pawluk, specifically. Such also
19   leaves the Court to speculate what specific action “shocks the conscience.”
20           For having such a high standard, Plaintiff should at least be required to state
21   with specificity as opposed to conclusions what action committed by Defendants
22   “shocks the conscience.”
23   1.      STANDARD FOR SUBSTANTIVE DUE PROCESS
24           VIOLATION/DEPRIVATION OF FAMILIAL RELATIONS

25           To state a substantive due process claim, plaintiffs must allege ultimate facts
26   establishing: (1) they were deprived of a fundamental liberty interest; and (2)
27   defendants' actions were so “clearly arbitrary and unreasonable, having no
28
                                                              15
     _____________________________________________________________________________________________________________________
          DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST
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 1   substantial relation to the public health, safety, morals, or general welfare,” and “so
 2   egregious, so outrageous, that it may fairly be said to shock the contemporary
 3   conscience.” Cnty. of Sacramento v. Lewis, 523 U.S. 833, 847 n.8 (1998); FDIC v.
 4   Henderson, 940 F.2d 465, 474 (9th Cir. 1991); Mullins v. Oregon, 57 F.3d 789,
 5   793 (9th Cir. 1995). (Emphasis added.)
 6           Both prongs must be met. Pagan v. Calderon, 448 F.3d 16, 32 (1st Cir.
 7   2006. Accordingly, “[e]stablishing a substantive due process violation is difficult.”
 8   Lumbreras v. Roberts, 319 F. Supp. 2d 1191, 1211 (D. Or. 2004). Moreover, “[i]t
 9   is well settled that negligence is not sufficient to shock the conscience,” and that “a
10   plaintiff must do more than show that the government actor intentionally or
11   recklessly caused injury to the plaintiff by abusing or misusing government
12   power.” Camuglia v. City of Albuquerque, 448 F.3d 1214, 1222 (10th Cir. 2006)
13   (quoting Moore v. Guthrie, 438 F.3d 1036, 1040 (10th Cir. 2006)).
14   2.      ANALYSIS
15           Here, the above-mentioned alleged facts of the FAC, even taken as true,
16   show that the Defendant Sheriff’s deputies possessed reasonable suspicion to assist
17   U.S Post Office Police Officers to detain Mr. Wear and were objectively
18
     reasonable to assist the U.S Post Office Police Officers to, at a minimum, handcuff
19
     Mr. Wear due to his erratic behavior. The Court is reminded that on August 12,
20
     2020 in the related action filed by Plaintiff’s minor child I.C.W., the Court found
21
     the same. See Exhibit A- Heather Blanchard v. County of Los Angeles, et. al. Case
22
     8:19-cv-02438-JVS-DFM Document 43 Filed 08/12/20 pg. 5 & 7 (“Blanchard
23
     asserts that the LASD Deputies acted without reasonable suspicion and probable
24
     cause and thus acted unreasonably in seizing Decedent…Accordingly, the Court
25
     DISMISSES Blanchard’s unreasonable seizure claim.”)
26
             Accordingly, it is established and will be established once the cases are
27
     joined that reasonable suspicion existed to detain Mr. Wear. Plaintiff’s FAC
28
                                                              16
     _____________________________________________________________________________________________________________________
          DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST
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 1   concedes that Mr. Wear entered a U.S. Post Office, gave a postal clerk a taser and
 2   can of pepper spray, acted erratically running “across streets” and “engaging
 3   pedestrian traffic,” was in “obvious need” of “medical intervention and attention,”
 4   and that the Defendant Sheriff’s deputies were “driving by” when they saw U.S.
 5   Postal Service Inspectors/ Post Office Police Officers “in the process of restraining
 6   plaintiff’s decedent.” See generally- Dkt. 20 FAC.
 7           Here, no reasonable officer would have merely kept driving by leaving the
 8   U.S. Postal Police Officers to fend for themselves against a struggling suspect. The
 9   Supreme Court has held “[i]f an officer has probable cause to believe that an
10   individual has committed even a very minor criminal offense..., he may, without
11   violating the Fourth Amendment, arrest the offender.” Atwater v. City of Lago
12   Vista, 532 U.S. 318, 354 (2001). The right to employ “some degree of physical
13   coercion or threat thereof” to effect an arrest accompanies the right to make the
14   arrest or investigatory stop. Graham, 490 U.S. at 396 (1989).
15           Here and even taking Plaintiff’s allegations at true, the Court has found that
16   Defendant Sheriff’s deputies, at a minimum, had reasonable suspicion to detain
17   Mr. Wear. See Exhibit A- Heather Blanchard v. County of Los Angeles, et. al.
18
     Case 8:19-cv-02438-JVS-DFM Document 43 Filed 08/12/20 pg. 5 & 7
19
     (“Blanchard asserts that the LASD Deputies acted without reasonable suspicion
20
     and       probable         cause        and        thus       acted        unreasonably            in      seizing
21
     Decedent…Accordingly, the Court DISMISSES Blanchard’s unreasonable seizure
22
     claim.”)
23
             It thus logically follows that Defendants then had the lawful right and duty
24
     to use force to effectuate such based on “a particularized and objective basis for
25
     suspecting the particular person stopped of criminal activity,” specifically seeing
26
     U.S. Post Office Police “in the process of restraining” Mr. Wear, which could
27
     constitute Cal. Penal Code § 647 (disorderly) based on Mr. Wear’s prior conduct
28
                                                              17
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          DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST
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 1   and/or a violation of Cal. Penal Code § 69 or 148 (resist, obstruct, delay a police
 2   officer), not including any other information about a potential crime the officers
 3   tell the deputies.
 4           Regarding Plaintiff’s first cause of action for substantive due process
 5   violation/deprivation of familial relations, Plaintiff’s allegations thus fail because
 6   even taking Plaintiff’s allegations as true, the force used by the deputies of
 7   assisting the U.S. Post Office Police “in the process of restraining” to handcuff Mr.
 8   Wear was objectively reasonable under the circumstances, especially considering
 9   that reasonable suspicion existed to detain Mr. Wear.
10            There are no specific facts alleged that are “so egregious, so outrageous,
11   that it may fairly be said to shock the contemporary conscience.” Cnty. of
12   Sacramento, 523 U.S. at 847 n.8 (1998); FDIC, 940 F.2d at 474 (9th Cir. 1991);
13   Mullins, 57 F.3d at 793 (9th Cir. 1995). (Emphasis added.) As to the Defendant
14   Sheriff’s deputies, the only force Plaintiff alleges is that the deputies assisted U.S.
15   Post Office Police whom were already “in the process of restraining” to handcuff
16   Mr. Wear. There are no allegations that the deputies punched, kicked, tasered,
17   pepper-sprayed, shot, etc. Mr. Wear.
18
             Further, there is no such thing as “lethal restraints,” and the mere use of that
19
     term      or    allegation        that     handcuffs        caused       “cardiac        arrest”      are    mere
20
     conclusions/speculation and not a factual allegations sufficient to state a claim no
21
     more than alleging a deputy used a “magic wand.”
22
             Indeed, the Ninth Circuit has long recognized that “[h]andcuff application is
23
     common,” police may use handcuffs in the course of an investigation and the mere
24
     act of placing an arrested suspect in handcuffs is not inherently unreasonable and
25
     does not in and of itself constitute excessive force. Saunders v. Knight, 2007 WL
26
     3482047, *16 (E.D. Cal. 2007); Cannon v. City of Petaluma, 2012 WL 1183732,
27
     *9 (N.D. Cal. 2012) (citing Robinson v. Solano County, 278 F.3d 1007, 1013 (9th
28
                                                              18
     _____________________________________________________________________________________________________________________
          DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST
                                            AMENDED COMPLAINT FOR DAMAGES
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 1   Cir.2002)); United States v. Bautista, 684 F.2d 1286, 1289 (9th Cir. 1982), citing
 2   United States v. Thompson, 597 F.2d 187, 190 (9th Cir. 1979), and United States v.
 3   Purry, 545 F.2d 217, 219-20 (D.C. Cir. 1976)).
 4           The mere handcuffing of an individual does not, in and of itself, violate the
 5   individual's constitutional rights. Rather, liability under 42 U.S.C. § 1983 for
 6   excessive force based upon handcuffing lies only where various other factors are
 7   present, such as the individual being either in visible pain, complained of pain,
 8   alerted the officer to pre-existing injuries, asked to have the handcuffs loosened or
 9   released, “and/or alleged other forms of abusive conduct in conjunction with the
10   tight handcuffing.” Shaw v. City of Redondo Beach, 2005 WL 6117549, at * 7
11   (CD. Cal. 2005). There are no such allegations here. Accordingly, Defendant
12   Sheriff’s deputies share no liability for excessive force, battery, assault,
13   negligence, or wrongful death as a matter of law.
14           Further, the factual allegations of the deputies mere assistance with
15   handcuffing fall far below the standard to “shock the conscious” required to state a
16   substantive due process violation/deprivation of familial relations (42 U.S.C. §
17   1983) claim. Cnty. of Sacramento, 523 U.S. at 847 n.8 (1998).
18
     V.      CONCLUSION
19           For the foregoing reasons, Defendant COLA respectfully requests that this
20   Court grant its motion to dismiss as requested herein, pursuant to Federal Rules of
21   Civil Procedure 12b(6).
22
     Dated: August 27, 2020                               IVIE McNEILL WYATT
23                                                        PURCELL & DIGGS
24
                                                 By:      /s/ Antonio K. Kizzie
25
                                                          RICKEY IVIE, ESQ.
26                                                        ANTONIO KIZZIE, ESQ.
                                                          JACK ALTURA, ESQ.
27                                                        Attorneys for Defendants,
                                                          COUNTY OF LOS ANGELES, et al.
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          DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST
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 1
                             DECLARATION OF ANTONIO K. KIZZIE
 2

 3   I, ANTONIO K. KIZZIE, declare and state as follows:
 4            1.      I am an attorney at law duly licensed and admitted to practice before
 5   all courts of the State of California, in the United States District Court for the
 6   Central, Northern, Eastern and Southern Districts of California, United States
 7   District Court of Colorado, the District of Columbia Court of Appeals, the United
 8   States District Court for the District of Columbia, and the United States Supreme
 9   Court.        I am a senior associate with the law firm of Ivie McNeill Wyatt Purcell
10   and Diggs, APLC attorneys of record for Defendants COUNTY OF LOS
11   ANGELES, et.al. in this case.                     The foregoing facts are within my personal
12   knowledge and, if called as a witness herein, I can and will competently testify
13   thereto.
14            2.      This declaration is made in support of Defendant County of Los
15   Angeles’ Motion to Dismiss Plaintiff’s First Amended Complaint for Damages.
16            3.      A true and correct copy of this Court’s order in Heather Blanchard v.
17   County of Los Angeles, et. al. Case 8:19-cv-02438-JVS-DFM Document 43 Filed
18   08/12/20 is attached hereto as Exhibit A.
19            4.      This motion is made following the meet and confer conferences of
20   counsel pursuant to L.R. 7-3, which took place telephonically on August 4, 2020.
21            I declare under penalty of perjury under the laws of the State of California
22   that the foregoing is true and correct. This Declaration was executed on August
23   28, 2020 in Los Angeles, California.
24                                            /s/ Antonio K. Kizzie
25                                           ANTONIO K. KIZZIE,
                                                   Declarant
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          DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST
                                            AMENDED COMPLAINT FOR DAMAGES
